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                        IN THE UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

         --------------------------------------------------   X
         SOUTH CAROLINA STATE PORTS                           :
         AUTHORITY                                            :   Case No. 23-1059
                                                              :
                                       Petitioner             :
                                                              :
         THE STATE OF SOUTH CAROLINA;                         :   On Petition for Review of an
         INTERNATIONAL                                        :   Order of the National Labor
         LONGSHOREMEN’S ASSOCIATION,                          :   Relations Board
         LOCAL 1422                                           :
                                                              :
                                       Intervenors            :
         v.                                                   :
                                                              :
         NATIONAL LABOR RELATIONS                             :
         BOARD                                                :
                                                              :
                                        Respondent            :
         --------------------------------------------------   X

                               MOTION TO INTERVENE OF
                        UNITED STATES MARITIME ALLIANCE, LTD.

               Pursuant to Fed. R. App. P. 15(d), Local Rules 12(e) and 28(a), and Section

        10(f) of the National Labor Relations Act (Act), 29 U.S.C. § 1160(f), United States

        Maritime Alliance, Ltd. (USMX) hereby moves to intervene in the above-captioned

        matter. In support of this motion, USMX, by and through its undersigned counsel,

        states as follows:

               1.      USMX is a multiemployer collective-bargaining representative for its

        members, which consist of shipping companies or lines (also known as carriers),
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        marine terminal operators and stevedoring companies, and port associations that

        represent employers of longshore labor engaged in container and roll-on/roll-off

        (ro/ro) operations in ports on the East and Gulf Coasts of the United States, including

        on marine terminals in the Port of Charleston, South Carolina.

              2.     USMX, on behalf of its members, negotiates and administers with the

        International Longshoremen’s Association (ILA), on behalf of its constituent locals,

        a collective bargaining agreement, known as the Master Contract. The Master

        Contract establishes the key terms and conditions of employment for longshore

        workers that apply uniformly in all Master Contract ports on the Atlantic and Gulf

        Coasts of the United States, including the Port of Charleston.

              3.     On December 21, 2022, the National Labor Relations Board (NLRB)

        issued its December 16, 2022 decision in the underlying matter.

              4.     In the underlying matter USMX, along with the ILA and ILA Local

        1422, was a Respondent to unfair-labor-practice charges filed by the State of South

        Carolina and Petitioner South Carolina State Ports Authority (SCSPA). SCSPA

        alleged that Article VII, Section 7(b) of the Master Contract constituted a “hot cargo”

        provision in violation of Section 8(e) of the Act.

              5.     USMX, along with the SCSPA, was also a Charging Party in the

        underlying matter arguing that an action filed in a New Jersey state court by the ILA




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        against USMX and two USMX carrier-members violated Sections 8(b)(4)(ii)(A) and

        (B) and 8(e) of the Act.

              6.     The NLRB’s decision affirmed the Administrative Law Judge’s

        dismissal of the charge that Article VII, Section 7(b) of the Master Contract violates

        Section 8(e) and dismissed the charge that the lawsuit filed by the ILA constituted

        an unlawful secondary boycott.

              7.     On January 17, 2023, SCSPA filed a petition to review the decision of

        the NLRB. It is anticipated that SCSPA will be challenging both determinations of

        the NLRB.

              8.     On January 25, 2023, SCSPA filed a motion to expedite its petition for

        review.

              9.     South Carolina and the ILA subsequently filed motions to intervene in

        this proceeding. The Court granted both motions.

              10.    On February 6, 2023, the NLRB filed its opposition to SCSPA’s motion

        to expedite and the Court denied SCSPA’s motion to expedite without prejudice.

              11.    Pursuant to Local Rules 12(e) and 28(a), USMX respectfully seeks

        leave to file a separate brief, if necessary, after SCSPA and the NLRB have filed

        their respective initial briefs but before SCSPA has filed its reply brief because of

        USMX’s unique position as both a Respondent and Charging Party in the underlying

        matter.

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              WHEREFORE, USMX respectfully requests that the Court grant its motion

        to intervene in this matter.

        Dated: February 7, 2023
                                             Respectfully submitted,


                                             /s/ James D. Nelson

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         STATEMENT PURSUANT TO FOURTH CIRCUIT LOCAL RULE 27(A)

              Counsel for USMX has informed the respective counsel for the SCSPA, the

        NLRB, South Carolina, and the ILA about USMX’s intended filing of this motion,

        and each has indicated that they have no objection to USMX’s motion to intervene

        in this matter.

        Dated: February 7, 2023

                                            Respectfully submitted,


                                            /s/ James D. Nelson

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                           CORPORATE DISCLOSURE STATEMENT

              Pursuant to Fed. R. App. P. 26.1(a) and Local Rule 26.1(a)(1), the undersigned

        counsel for United States Maritime Alliance, Ltd. (USMX) hereby certify that

        USMX is a not-for-profit membership corporation, has no corporate parent, and has

        no issued stock.

        Dated: February 7, 2023

                                              Respectfully submitted,


                                              /s/ James D. Nelson

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                              CERTIFICATE OF COMPLIANCE

              In accordance with Fed. R. App. P. 27(d)(2)(A) and 32(g)(1), the undersigned

        certify that the Motion to Intervene of United States Maritime Alliance, Ltd. was

        prepared using Microsoft Word, Times New Roman typeface, size 14.             The

        undersigned further certify that this motion is proportionally spaced and contains

        512 words, excluding the parts of the document that are exempted by Fed. R. App.

        P. 32(f), according to the word-count function of Microsoft Word. The undersigned

        declare under penalty of perjury that the foregoing is true and correct.

        Dated: February 7, 2023

                                               Respectfully submitted,


                                               /s/ James D. Nelson

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